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                UNITED STATES DISTRICT COURT
             THE CENTRAL DISTRICT OF CALIFORNIA

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 International Cell Surgical Society et al.,

                   Plaintiffs,

                                           Case No: 5:23-cv-00698-DOC-KK

                   v.

 Kate Krawczyk et al.,

                   Defendants.

 –––––––––––––––––––––––––––––



         [PROPOSED] ORDER GRANTING THE PARTIES
       STIPULATION TO EXTEND DEFENDANT’S TIME TO
                        RESPOND
       Having considered the Parties Stipulation to Extend Time to

 Respond, this Court hereby rules as follows:


    The Parties Stipulation to Extend Time to Respond to Plaintiffs’

     Complaint is GRANTED, and therefore the new deadline for




                                       1
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     Defendants to respond to Plaintiffs’ Complaint is extended by

     twenty-one days from 27 April 2023 to 18 May 2023.


       SO ORDERED.


 Dated:


 __________________________________

 Hon. David O. Carter

 United States District Court Judge




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